Case 4:18-cv-00044-ALM-CAN Document 21 Filed 08/17/18 Page 1 of 5 PageID #: 115




                           United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION


  BRIDGET DENAE WISE                               §
                                                   §
  v.                                               §   Civil Action No. 4:18-CV-44
                                                   §   (Judge Mazzant/Judge Nowak)
  AUTONATION INC., LEWISVILLE                      §
  IMPORTS, LTD., BANKSTON HONDA                    §

                  MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On May 22, 2018, the report of the Magistrate Judge (Dkt. #18) was entered containing proposed

 findings of fact and recommendations that Defendants AutoNation, Inc. and Lewisville Imports,

 LTD’s Motion to Set Aside Clerk’s Entry of Default (Dkt. #15) be granted and the Clerk’s Entry

 of Default be set aside. Having received the report and recommendation of the Magistrate Judge

 (Dkt. #18), having considered Plaintiff’s objections (Dkt. #19), and having conducted a de novo

 review, the Court is of the opinion that the Magistrate Judge’s report should be adopted.

                                         BACKGROUND

        Plaintiff filed suit on January 17, 2018, against Defendants AutoNation, Inc., Lewisville

 Imports LTD, and Bankston Honda for race, gender, and disability status discrimination pursuant

 to Title VII of the Civil Rights Act of 1964 (Dkt. #1). Plaintiff prepared service of process, and

 summonses were issued to each of Defendants (Dkts. #5–#7). Returns of service were filed on

 March 8, 2018 (Dkts. #9–#11). Defendants did not thereafter answer or otherwise respond.
Case 4:18-cv-00044-ALM-CAN Document 21 Filed 08/17/18 Page 2 of 5 PageID #: 116



         On March 8, 2018, Plaintiff filed a Request for Clerk’s Entry of Default; Clerk’s Entry of

 Default was entered against all Defendants March 8, 2018 (Dkts. #12, #13). On March 12, 2018,

 Plaintiff filed “Supporting Documents for Default Judgement” (Dkt. #14). On March 15, 2018,

 Defendants moved to set aside the Clerk’s Entry of Default (Dkt. #15). On the same day, Plaintiff

 filed “Plaintiff(s) [sic] Entry of Unemployment Documents in Support for Default Judgement”

 (Dkt. #16). On March 20, 2018, Plaintiff responded to Defendants’ Motion (Dkt. #17). On May

 22, 2018, the Magistrate Judge entered a report and recommendation (Dkt. #18), recommending

 that Defendants’ Motion to Set Aside Clerk’s Entry of Default (Dkt. #15) be granted and the

 Clerk’s Entry of Default be set aside because Defendants had not yet been properly served. On

 June 4, 2018, Plaintiff filed her “Plaintiff(s) [sic] Objection to the Magistrate Judge

 Recommendation to Set Aside Clerk’s Entry of Default” (Dkt. #19).

                                   PLAINTIFF’S OBJECTIONS

         A party who files timely written objections to a magistrate judge’s report and

 recommendation is entitled to a de novo review of those findings or recommendations to which

 the party specifically objects. 28 U.S.C. § 636(b)(1)(C); Fed. R. Civ. P. 72(b)(2)–(3). Plaintiff

 contends that the Magistrate Judge incorrectly found that: (1) Defendants’ failure to answer was

 not willful; and (2) Plaintiff would not be prejudiced by setting aside default (Dkt. #19).

 Excusable Neglect

         Plaintiff objects that the Magistrate Judge was incorrect in finding that Defendants’ failure

 to answer or otherwise respond was not willful. Plaintiff specifically argues that Defendants had

 actual notice of the suit by virtue of Plaintiff’s email to Defendants. Plaintiff posits that Defendants

 demonstrated willfulness by refusing to respond to her emails or the lawsuit after receipt of her

 email (Dkt. #19 at pp. 1–2). Plaintiff further points out that the email reflects that “Legal Senior



                                                    2
Case 4:18-cv-00044-ALM-CAN Document 21 Filed 08/17/18 Page 3 of 5 PageID #: 117



 Vice President Coleman Edmunds was one of the recipients that received it” and “that same email

 was also forwarded to Lance Iserman (EVP and COO) and Mike Johnson (CEO) later the exact

 same day” (Dkt. #19 at p. 2). As noted by the Magistrate Judge, actual notice does not replace

 proper service of process. See Kingman Holdings, LLC v. U.S. Bank Nat’l Ass’n, 2016 WL

 1756508 (E.D. Tex. May 3, 2016) (“[a]ctual notice to a defendant, without proper service, is not

 sufficient to convey upon the court jurisdiction to render default judgment against him”) (quoting

 Wilson v. Dunn, 800 S.W.2d 833, 836 (Tex. 1990)).

        Moreover, to set aside an entry of default, the court considers: “(1) whether the default

 resulted from excusable neglect; (2) whether setting aside the entry of default. . . would prejudice

 the adversary; and (3) whether a meritorious defense is presented.” Parker v. Bill Melton Trucking,

 Inc., No. 3:15-CV-2528-G, 2016 WL 5704172, at *1 (N.D. Tex. Oct. 3, 2016) (citing CJC

 Holdings, Inc. v. Wright & Lato, Inc., 979 F.2d 60, 64 (5th Cir. 1992)). The email in question,

 sent by Plaintiff to Defendants, explicitly acknowledged that the Complaint had not yet been

 served on Defendants, and also did not have attached to it a copy of the summons or Plaintiff’s

 Complaint. See Goldstein v. Gordon, 2002 WL 324289, at *4–5 (N.D. Tex. February 27, 2002)

 (the defendant’s receipt of an email from the plaintiff’s counsel telling him that a lawsuit had been

 filed, but attaching no summons and complaint, did not constitute actual notice sufficient to prove

 willfulness). As the Goldstein court noted, “Defendants were not required to scour the Court’s

 records in order to locate and read a copy of the complaint filed against them” – as a publicly

 traded company with over 300 affiliated dealerships nationwide, it would be impractical for

 Defendants to do so. Id. at *5. As such, Defendants’ receipt of Plaintiff’s referenced email does

 not indicate Defendants acted intentionally or negligently.




                                                  3
Case 4:18-cv-00044-ALM-CAN Document 21 Filed 08/17/18 Page 4 of 5 PageID #: 118



         Defendants provided additional evidence indicating that they were not negligent or

 intentional regarding their failure to respond to the suit. As Defendants note in their Motion,

         [t]o insure that deadlines are met, Defendants utilize Thomson Reuters Serengeti
         Legal Tracker to manage all active litigation for its affiliated dealerships. However,
         because Defendants were never served, the responsive pleadings deadline was
         never set in Serengeti or calendared by counsel. . . Defendants were completely
         unaware of any deadline to file a responsive pleading because they were never
         properly served with process.

 (Dkt. #15). Defendants’ failure to respond to the lawsuit does not reflect culpable conduct; it was

 neither negligent or willful. Therefore, the default in this case resulted from excusable neglect.

 Prejudice

         Furthermore, excusable neglect is only one of the several factors courts consider to

 determine whether there is good cause to set aside a default. Lacy v. Sitel Corp., 227 F.3d 290,

 292 (5th Cir. 2000). Plaintiff also argues that the Magistrate Judge erred in finding that there was

 “no indication that setting aside default at this juncture would prejudice Plaintiff”

 (Dkt. #19 at p. 1). To support her assertion of prejudice, Plaintiff states only that “forcing [her] to

 move forward” by proceeding on the merits rather than rendering a default judgment “will indeed

 cause mental and physical harm to [her] personally, as well as a great prejudice towards [her]”

 (Dkt. #19 at p. 3). This is insufficient. As the Fifth Circuit found in Lacy,

         [t]here is no prejudice to the plaintiff where “the setting aside of the default has
         done no harm to plaintiff except to require it to prove its case. It has decided
         nothing against it except that it cannot continue to hold the sweeping [relief] it
         obtained. . . without a trial and by default.”

 227 F.3d at 293 (quoting Gen. Tel. Corp. v. Gen. Tel. Answering Serv., 277 F.2d 919, 921 (5th Cir.

 1960)); see also Fazeli v. Dallas MTV, LLC, 2017 WL 1426334, at *3 (N.D. Tex. April 21, 2017)

 (citing United States v. One Parcel of Real Prop., 763 F.2d 181, 183 (5th Cir. 1985)) (“Requiring

 a plaintiff to litigate the merits of the claim is insufficient prejudice to allow a default to stand.”).



                                                     4
Case 4:18-cv-00044-ALM-CAN Document 21 Filed 08/17/18 Page 5 of 5 PageID #: 119



    Plaintiff has failed to allege sufficient facts that she would be prejudiced by having to proceed on

    the merits. The Clerk’s Entry of Default should be set aside.

                                             CONCLUSION

           Having considered each of Plaintiff’s objections, and having conducted a de novo review,

    the Court is of the opinion that the findings and conclusions of the Magistrate Judge are correct

    and adopts the Magistrate Judge’s report (Dkt. #18) as the findings and conclusions of the Court.

.          Accordingly, it is ORDERED that Defendants AutoNation, Inc. and Lewisville Imports,

    LTD’s Motion to Set Aside Clerk’s Entry of Default (Dkt. #15) is GRANTED and the Clerk’s

    Entry of Default (Dkt. #13) is hereby set aside.

           IT IS SO ORDERED.

            SIGNED this 17th day of August, 2018.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




                                                       5
